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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 17-cv-00045-CMA-KLM

   STEPHANIE LOPEZ, individually,

           Plaintiff,

   v.

   CARL EDWARDS, individually, and
   CASPER TRAILER SALES, INC., a Colorado Corporation

           Defendants.


        Motion for Award of Attorney’s Fees and Costs, pursuant to 29 U.S.C. §216(b)


           COMES NOW the Plaintiff Stephanie Lopez, by and through counsel, Donna

   Dell’Olio, Cornish & Dell’Olio, P.C., and moves the Court for an order awarding attorney’s

   fees and costs.

                                    I.   INTRODUCTION

           Stephanie Lopez brought this action as a result of the Defendants’ failure to pay

   her minimum and overtime wages from January 4, 2014 to April 20, 2016. Her complaint

   alleged violations of the Fair Labor Standards Act (“FLSA”) and the Colorado Wage Act

   (“CWA”). Plaintiff’s FLSA claims were tried before a jury. The jury found that Plaintiff

   proved the elements of her FLSA minimum wage and overtime claims for the period

   March 8, 2016 to April 20, 2016, and awarded her economic damages of $878.75. DOC

   #138.




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          This Court entered a Final Judgment in favor of Plaintiff and against Defendants in

   the amount of $878.75 on September 29, 2018. DOC #140. The Final Judgment

   provided that Plaintiff shall have her costs. Id.

          As the prevailing party on her FLSA claim, Plaintiff is entitled to reasonable

   attorneys' fees and costs. 29 U.S.C. § 216(b) (the court “shall, in addition to any judgment

   awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the

   defendant, and the costs of the action.”). Plaintiff seeks $166,463.50 in attorneys’ fees,

   plus $9,610.10 in out-of-pocket expenses. Plaintiff submits that the fees sought to be

   awarded in this case are reasonable considering the issues involved in this case, the

   parties’ stipulation that Plaintiff’s attorneys’ hourly rates are reasonable, the experience

   level of Plaintiff’s counsel, and past judicial precedent.

                II.   CALCULATING A REASONABLE ATTORNEY’S FEE

          Determination of the amount and reasonableness of an attorneys’ fees is within

   the court’s discretion. See Wright v. U-Let-Us Skycap Servs., Inc., 648 F. Supp. 1216,

   1218 (D. Colo. 1986). When evaluating claims for attorneys’ fees, the court must follow

   the three-step process set forth in Ramos v. Lamm, 713 F.2d 546 (10th Cir. 1983),

   overruled on other grounds, Pennsylvania v. Del. Valley Citizens' Council for Clean Air,

   483 U.S. 711, 725 (1987). These steps include: (1) determining the number of hours

   reasonably spent by counsel for the prevailing party; (2) determining a reasonable hourly

   rate of compensation; and (3) multiplying the reasonable hourly rate with the number of

   hours reasonably expended to determine the “lodestar” amount. Id.; see also Esquibel v.




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   Hendler, 2017 U.S. Dist. LEXIS 204439, at *16 (D. Colo. 2017) (applying the three-step

   process set forth in Ramos).

          Courts may adjust a fee award upward or downward depending on different

   factors.   Ramos, 713 F.2d at 556.      In Hensley v. Eckerhart, 461 U.S. 424 (1983)

   (hereinafter “Hensley”), the Supreme Court set forth factors to be considered when

   determining a reasonable attorney’s fee to be awarded to a prevailing party. As is relevant

   here, these factors include: (1) the time and labor required; (2) the novelty and difficulty

   of the questions; (3) the skill requisite to perform the legal service properly; (4) the

   preclusion of employment by the attorney due to acceptance of the case; (5) whether the

   fee is fixed or contingent; (6) time limitations imposed by the client or the circumstances;

   (7) the "undesirability" of the case; and (8) the amount involved and the results obtained.

   Id. at 430 n.3.

          As set forth below, the fees sought to be awarded in this case are reasonable and

   consistent with the standards set forth in Ramos and Hensley.

                              A. The Number of Hours Expended

          The first step in determining a fee award is to determine the number of hours

   reasonably spent by counsel for the prevailing party. Malloy v. Monahan, 73 F.3d 1012,

   1017 (10th Cir. 1996); Ramos, 713 F.2d at 553. Factors considered in a reasonableness

   determination include (a) the hours that would be properly billed to one’s client in

   accordance with good “billing judgment,” (b) time spent on specific tasks, and (c)

   duplication of efforts. Malloy, 73 F.3d at 1017-18; Ramos, 713 F.2d at 553-54.




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          Plaintiff’s attorneys seek to recover fees for 429.67 hours of work actually devoted

   to working on the case. In support of this request, Plaintiff’s attorneys submit meticulous,

   contemporaneous time records that reveal all hours for which compensation is requested

   and how those hours were allotted to specific tasks. Exhibit 1, Affidavit of Donna Dell’Olio,

   documenting 309.08 hours of work; Exhibit 2, Declaration of Julie Yeagle, documenting

   112.09 hours of work; Exhibit 3, Declaration of Ian Kalmanowitz, documenting 9 hours of

   work. Plaintiff’s attorneys attest that these hours were properly billed to Plaintiff in

   accordance with good billing judgment, and that a good faith effort was made to exclude

   hours that are excessive, redundant, or otherwise unnecessary.

          Plaintiff’s counsel had no motive to spend more time than necessary on Stephanie

   Lopez’s case. This fact is proven by Plaintiff’s repeated efforts to settle the case. Early

   on in the litigation, and before substantial attorney’s fees had been incurred, Plaintiff also

   requested participation in mediation. Exhibit 4. Defendants’ only response was a $1.00

   offer of judgment pursuant to Rule 68 and extensive argument about legal theories.

   Exhibit 5. Before trial, Plaintiff tried again to encourage a settlement by offering mediation

   (Exhibit 6), but received no response to her request.

          Furthermore, Defendants’ extensive motion practice was the direct cause of much

   of the litigation fees and costs incurred by Plaintiff. The Tenth Circuit has long accepted

   the proposition that one of the factors useful in evaluating the reasonableness of the

   number of attorney hours in a fee request is “the responses necessitated by the

   maneuvering of the other side.” Robinson v. City of Edmond, 160 F.3d 1275, 1284 (10th

   Cir. 1998) (citing Ramos, 713 F.2d at 554). This case was litigated by Defendants without



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   any concern for time spent or the costs of litigation. The economic disparity between the

   parties could not have been more stark. Defendants exploited this disparity of resources

   (as they had every right to do) by making Stephanie Lopez’s attorneys expend time

   responding to motions which were aggressive and were ultimately determined to be

   without merit. For example, Defendants’ motion for partial summary judgment, which had

   little likelihood of success, required Plaintiff’s attorneys to spend 23 hours in drafting a

   response. Similarly, Defendants’ Rule 702 motion had a very low probability of success

   given the qualifications of Plaintiff’s expert, the common practice of allowing handwriting

   experts to testify in federal court, and the substantial similarities between Defendants’

   motion and a Rule 702 motion to exclude the same handwriting expert that was denied in

   its entirety by Judge William J. Martinez. Responding to Defendants’ Rule 702 motion

   required another 23 hours of work by Plaintiff’s attorneys. Finally, Defendants’ Motion in

   Limine, which requested the court to exclude six categories of evidence and which was

   denied in its entirety, demanded approximately 10 hours of attorney work. It would be

   unfair to find that the time Plaintiff’s lawyers spent on the litigation was unreasonable

   when much of this time was a direct result of Defendants’ extensive motion practice. See,

   e.g., City of Riverside v. Rivera, 477 U.S. 561, 580 n.11, (1986) (“The government cannot

   litigate tenaciously and then be heard to complain about the time necessarily spent by the

   plaintiff in response.”) see also 2 Mary Francis Derfner & Arthur D. Wolf, Court Awarded

   Attorney Fees, P 16.02[8][b] (1997) (discussing cases that have held “the vehemence or

   tenacity of the opposition will justify an increase in the amount of time an attorney must




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   necessarily - and therefore reasonably - spend in countering the opposition and winning

   the suit”).

          Finally, Plaintiff’s attorneys have no way of knowing whether Defendants will claim

   that too much time was spent on any particular task. By separate motion, Plaintiff asks

   the court to allow very limited discovery before it allows Defendants’ attorneys to

   challenge the amount of time they worked on the case. DOC #147.

                          B. Reasonable Hourly Rate and Loadstar

          Courts may determine the reasonableness of a fee request by calculating the

   “lodestar amount,” which represents the number of hours reasonably expended multiplied

   by a reasonable hourly rate. Hensley, 461 U.S. at 433. The parties have stipulated that

   Plaintiff’s attorneys’ reasonable hourly rates are $400.00 per hour for Donna Dell’Olio and

   Ian Kalmanowitz, and $350.00 per hour for Julie Yeagle. DOC #145. Accordingly, the

   loadstar in this case, without considering time spent on the motion for attorney’s fees, is

   $166,463.50 (112.09 hours X $350.00 = $39,231.50) (Yeagle time) + (309.08 X $400.00

   = $123,632.00) (Dell’Olio time) + (9 hours X $400.00 = $3,600.00) (Kalmanowitz time).

                        C. The Novelty and Difficulty of the Questions

          This case – a simple, single-plaintiff wage claim - did not involve novel questions

   of law. Yet Defendants’ counsel made the litigation complicated and difficult by making

   straight-forward issues complicated.    Defendants’ counsel had every right to do so.

   However, it would be unfair to discount Plaintiff’s attorneys’ fees when a substantial

   amount of time was spent responding to Defendants’ novel legal theories and filings which

   did nothing to advance the litigation. As examples, please see Exhibits 4 and 5, where a



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   simple request for mediation was met with pages of legal argument. See also, DOC #41,

   Motion to Partially Dismiss, with 14 exhibits; DOC #65, Defendants’ Motion for Partial

   Summary Judgment; DOC #80, Defendants’ Motion to Exclude The Expert Handwriting

   Testimony, with 11 exhibits; DOC #97, Defendants’ Motion in Limine, with exhibits.

                 D. The Skill Requisite to Perform the Legal Services Properly

          The experience of Plaintiff’s counsel no doubt made for efficiencies of time. The

   degree of skill needed to litigate a wage case should not be a particularly decisive factor

   in determining the motion for attorney’s fees in this case. Any competent employment

   lawyer (who was willing to represent Stephanie Lopez under the circumstances) could

   have tried this single-Plaintiff case.

                            E. The Preclusion of Other Employment

          Because Cornish & Dell’Olio, P.C. is the only law firm in southern Colorado

   practicing exclusively in the field of employment law, our lawyers are in demand. Time

   spent on Stephanie Lopez’s case was time that would have been spent working on cases

   of other clients, necessarily delaying work on other cases.

                           F. Whether the Fee is Fixed or Contingent

          Stephanie Lopez retained Cornish & Dell’Olio, P.C., on a contingent fee basis. She

   had no ability to pay fees beyond the $200 that she paid for her initial consultation. Once

   taken, her case required the advance of out-of-pocket costs of over $10,000. She was

   able to pay part of her costs.

                G. Time Limitations Imposed by the Client or the Circumstances




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          Trial work always requires that all other work be set aside and did so in this case.

   Affidavit of Donna Dell’Olio, Exhibit 1.

                                H. The Undesirability of the Case

          The letter sent by Carl Edwards in response to Plaintiff’s statutory demand for

   wages is Exhibit 7. After reading Carl Edwards’ letter, few lawyers, if any, would have

   represented Stephanie Lopez.

          Stephanie Lopez was not an average plaintiff or an average worker. As Donna

   Dell’Olio’s affidavit (Exhibit 1) explains, she is a poor person. Stephanie Lopez was

   homeless and disabled during the month preceding trial and during trial. Challenges

   presented by providing legal representation to someone in Stephanie Lopez’s position

   were great and required the devotion of many additional hours of time in order to bring

   her case to trial. Such time was not billed as legal work, yet it took counsel away from

   paying work. However, the alternative – i.e. forfeiting her claim - was unacceptable.

                       I. The Amount Involved and the Results Obtained

          When assessing an award of attorney fees, the court may impose a general

   reduction in fees depending on the prevailing party’s degree of success. Hensley, 461

   U.S. at 440. However, as the Court noted in Hensley, “[t]here is no precise rule or

   formula” for assessing a party’s degree of success. Id. at 440; Latin v. Bellio Trucking,

   Inc., 2016 U.S. Dist. LEXIS 192273, 2016 WL 9725289, at *2 (D. Colo. Nov. 23, 2016),

   aff'd, 720 F. App'x 908 (10th Cir. 2017). If a plaintiff fails to prevail on claims “unrelated”

   to those on which he or she succeeds, work on the unrelated unsuccessful claims cannot

   be compensated. Hensley, at 434-35; Ramos, 713 F.2d at 556. If, on the other hand,



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   plaintiff's claims involve “a common core of facts or [are] based on related legal theories”

   and cannot be viewed as a series of discrete claims, the court must focus on the

   significance of the overall relief obtained by the plaintiff. Ramos, 713 F.2d at 556. If the

   plaintiff has obtained "excellent results," the attorney’s fees should encompass all hours

   reasonably expended, and no reduction should be made because the plaintiff failed to

   prevail on every contention. Id. Plaintiff does not dispute that there should be some

   reduction in fees for the limited success achieved at trial. However, for the reasons set

   forth below, the reduction should not be great.

          First, no reduction in fees for unsuccessful claims should be made. Plaintiff

   prevailed on both of her FLSA claims. A tort claim was dismissed early on in the litigation

   (DOC# 55), but only a very minimal amount of time was spent on this claim. Furthermore,

   the parties stipulated that “Defendants will not use the dismissal of Plaintiff’s Third Cause

   of Action to Plaintiff’s prejudice in any manner in the current or future proceedings.” DOC

   # 55. The dismissal of the tort claim to reduce the award of attorney’s fees would be to

   Plaintiff’s prejudice and therefore would be contrary to the parties’ stipulation.

          In Esquibel v. Hendler, 2017 U.S. Dist. LEXIS 204439 (D. Colo. 2017), the plaintiff

   asserted violations of the FLSA and CWA. The Court granted the plaintiff's Motion for

   Default Judgment on her FLSA and CWA claims, but determined that dual recovery under

   the FLSA and CWA was prohibited, and therefore only allowed Plaintiff to recover under

   her FLSA claim. Id. at *9. Thereafter, Plaintiff sought $34,026.00 in attorneys' fees and

   costs. Id. This Court awarded the requested amount in full and refused to adjust

   downward, despite the fact that Plaintiff only recovered under her FLSA claim. Id. at *19.



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    In support of this decision, this Court cited to two Tenth Circuit cases where the Court

    allowed awards of attorney’s fees in connection with the plaintiffs’ unsuccessful claims

    because the plaintiffs’ successful claims arose from the same challenged conduct. Id.

    Here, it is undisputed that Plaintiff’s FLSA claims arose from the same challenged

    conduct. Plaintiff only sought a statutory penalty under the CWA and did not seek an

    award of wages under both acts. Plaintiff’s fees should not be reduced because Plaintiff

    made a claim for penalties under the CWA.

           Second, there should be no significant reduction in fees based on the amount

    involved and the results obtained because (1) the facts of Plaintiff’s FLSA claim are

    intertwined, and (2) the plaintiff obtained excellent results. The facts supporting Plaintiff's

    FLSA claim for the time periods January 4, 2014 to March 7, 2016, for which Plaintiff was

    not awarded damages, and March 8, 2016 to April 20, 2016, for which Plaintiff was

    awarded damages, were part of “one bundle of proof” concerning Defendants’ failure to

    pay wages and overtime.        The entirety of Plaintiff’s FLSA claim involved Plaintiff's

    employment with Defendant Casper Trailer Sales, Inc., and included the same people,

    and occurred at the same location. Furthermore, Plaintiff’s FLSA claims were based on

    a single legal theory.

           Given the clear overlap between the successful and unsuccessful aspects of

    Plaintiff’s FLSA claim, it is impossible to parse Plaintiff’s counsels’ billing records. As

    such, Plaintiff’s FLSA claim cannot and should not be viewed as a series of discrete

    claims. Hence an award of attorney’s fees should be based upon an analysis of the case

    as one lawsuit, and not as discrete claims as if they had been brought in separate



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    lawsuits. See, e.g., Roane, 2018 U.S. Dist. LEXIS 145369, *6 (holding that only a modest

    reduction in attorney's fees was appropriate where plaintiff’s successful and unsuccessful

    claims were interrelated).

           Another factor weighing in favor of a substantial award of attorneys’ fees is the

    significance of the overall relief obtained by Plaintiff. “When a plaintiff achieves most or

    all of what she aimed for in a civil rights lawsuit, her lawyer should receive ‘a fully

    compensatory fee.’” Robinson v. City of Edmond, 160 F.3d 1275, 1283 (10th Cir. 1998)

    (quoting Hensley, 461 U.S. at 435). Despite Plaintiff's limited monetary recovery, her

    victory was not merely technical or de minimis; instead, the jury's verdict vindicated the

    violation of her rights. Plaintiff therefore achieved the principal goal of her lawsuit. See

    Brandau v. Kansas, 168 F.3d 1179, 1182 (10th Cir. 1999) (finding that jury's award of

    nominal damages supported the award of attorney fees because, among other things, the

    verdict vindicated the violation of plaintiff's civil rights).

           Furthermore, Plaintiff's claim for damages was not extravagant - she only sought

    about $35,000 in unpaid wages.            Accordingly, the difference between the amount

    demanded and the result obtained is not so significant as to warrant a substantial

    reduction in fees. See, e.g., Roane, 2018 U.S. Dist. LEXIS 145369, at *11 (permitting

    only a modest reduction in fees despite the fact that plaintiff only recovered 1/10,000 th the

    amount of back pay sought).

           Lawyers will not be encouraged to represent employees in claims for unpaid wages

    under the FLSA if their fees are reduced significantly after their client prevails on a

    significant legal issue, particularly when a relatively simple, single plaintiff case (involving



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    whether a plaintiff worked or not) turns into time consuming litigation involving no fewer

    than four significant pre-trial motions. The jury verdict and anticipated fee award put the

    Defendants, and others, on notice that they cannot arbitrarily withhold a worker’s wages.

             III.    SPECIAL FACTORS WARRANTING AN AWARD OF FEES

           Representing workers who are poor or homeless or otherwise disadvantaged by

    social conditions requires a greater commitment of a lawyer’s time and devotion than

    representing an average worker. If the Court begins with the premise that all workers

    should be protected by the FLSA, lawyers who represent the most disadvantaged workers

    should be encouraged in their work and not discouraged by a zealous reduction in the

    loadstar. In this case, Plaintiff’s counsel took on a poor client who was unfairly accused

    of lacking all credibility by her former employer because of her status. Plaintiff’s counsel

    continued to represent Stephanie Lopez when representation required an investment of

    time above and beyond what is typically required of lawyers.

           The additional time Stephanie Lopez required from her lawyers to bring her case

    to trial was part of what is required of lawyers who represent poor people. The fact that

    counsel was willing to take on the representation of a poor client is a factor which the

    Court may chose, in its discretion, to consider when determining a reasonable fee.

           IV.      COSTS NOT INCLUDED IN THE ATTORNEY’S HOURLY FEES

                                      A. Costs of Paralegals

           Plaintiff is not seeking an award for paralegal fees. Many important tasks are

    performed by a Legal Assistant at Cornish & Dell’Olio, P.C., including proofreading and

    filing of documents, collection of exhibits and creation of appendixes, routine



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    communications with clients, and gathering and organizing documents in order to respond

    to discovery requests. It is not the customary practice at Cornish & Dell’Olio, P.C. to bill

    clients separately for the work of Legal Assistants or paralegals.

                                       B. Other Expenses as Fees

           In Brown v. Gray, 227 F.3d 1278, 1297 (10th Cir. 2000), the Tenth Circuit held

    that out-of-pocket expenses are recoverable as attorney’s fees if they are costs

    customarily billed to clients in addition to hourly fees. Pursuant to this Tenth Circuit

    precedent, Plaintiff seeks to recover $9,610.10.

           It is the customary practice at Cornish & Dell’Olio, P.C., to bill clients for out-of-

    pocket expenses which are necessarily incurred in representing the client. Affidavit of

    Donna Dell’Olio, Exhibit 1. Cornish & Dell’Olio, P.C.’s standard fee agreement provides

    for payment by the client for copying charges, legal research, Investigator’s charges,1

    Process Server’s charges, postage, costs of obtaining medical reports, court reporter’s

    charges, expert witness fees, mileage, parking, and out of town lodging when necessary.

           The affidavit of Donna Dell’Olio (Exhibit 1) attests that each of the costs itemized

    in her fee affidavit was necessarily incurred and is a type of cost that is customarily



    1
      Harris v. Marhoefer, 24 F.3d 16 (9th Cir. 1994), allowed the prevailing plaintiff to recover costs of
    an investigator as a reasonable expense that would normally be billed to a client. See, Navarro v.
    General Nutrition Corp., 2004 U.S. Dist. LEXIS 24258, at *47 (N.D. Ca. 2004) ( plaintiff in a civil
    rights action may be reimbursed for the cost of an investigator); Jackson v. Austin, 267 F. Supp. 2d
    1059, 1066 (D. Kan. 2003) (awarding expense paid to an investigator); Lambert v. Fulton
    County,151 F. Supp. 2d 1364, 1378 (N.D. Ga. 2000) ("with the exception of routine office overhead
    normally absorbed by the, practicing attorney, all reasonable expenses incurred in case preparation,
    during the course of litigation, or as an aspect of settlement of the case may be taxed as costs under
    § 1988'); Frenz v. Quereshi, 1999 U.S. Dist. LEXIS 4329, at *17 (D. Or. 1999) (Stewart, M.J.)
    (awarding expense paid to an investigator); Lawyer v. 84 Lumber Co., 1998 U.S. Dist. LEXIS 2992,
    at *17 (N.D. Ill. 1998) (Hart, J.) ("Costs of an investigator may be properly awarded as an attorney
    fee.").


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    charged to the clients of Cornish & Dell’Olio, P.C. in addition to hourly attorney’s fees.

    The Costs which Plaintiff seeks to recover as part of the fee Award are itemized in Donna

    Dell’Olio’s affidavit.

                                      V.    CONCLUSION

           Plaintiff was the prevailing party in a FLSA claim and is therefore entitled to recover

    attorney’s fees against Defendants. A fee award based upon the lodestar method,

    calculated based upon her attorneys’ hourly rates ($350 - $400) and the 430.17 hours of

    attorney time contemporaneously recorded, plus $9,610.10 in out-of-pocket expenses, is

    reasonable. Plaintiff therefore requests that the Court enter an order awarding her

    attorney’s fees in the reasonable sum of $166,463.50.

                             Certificate of Conferral, D. Colo. L. Civ. R. 7.1

           The undersigned represents that she has conferred with counsel for the

    Defendants, Brett Godfrey and Lily Nierenberg, Godfrey/Johnson, P.C., concerning the

    motion for attorney’s fees. Defendant opposes the motion.

           Respectfully submitted this 26th day of October, 2018.

                                               CORNISH & DELL'OLIO, P.C.

                                               s/ Donna Dell’Olio
                                               Donna Dell’Olio, #10887
                                               Julie D. Yeagle, # 52247
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 26th day of October, 2018, I electronically filed with the
    Clerk of Court using the CM/ECF system a true and correct copy of the foregoing Motion
    for Award of Attorney’s Fees and Costs, pursuant to 29 U.S.C. §216(b) was sent by
    email:

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    Lily Nierenberg
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    Stephanie Lopez
    Via hand delivery


                                               s/Esther Kumma Abramson
                                               Esther Kumma Abramson




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